
Per Curiam.
*253{¶ 1} Because the Board of Tax Appeals ("BTA") did not fully consider the appraisal evidence presented by appellant, Store Master Funding VI, L.L.C., we vacate the decision of the BTA and remand the cause for further proceedings on the authority of Terraza 8, L.L.C. v. Franklin Cty. Bd. of Revision , 150 Ohio St.3d 527, 2017-Ohio-4415, 83 N.E.3d 916, and Spirit Master Funding IX, L.L.C. v. Cuyahoga Cty. Bd. of Revision , 155 Ohio St.3d 254, 2018-Ohio-4302, 120 N.E.3d 815. On remand, the parties shall not be permitted to present new evidence. See Bronx Park S. III Lancaster, L.L.C. v. Fairfield Cty. Bd. of Revision , 153 Ohio St.3d 550, 2018-Ohio-1589, 108 N.E.3d 1079, ¶ 13.
Decision vacated and cause remanded.
O'Connor, C.J., and O'Donnell, Kennedy, French, Fischer, DeWine, and DeGenaro, JJ., concur.
